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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

Margaret Fromm,                                Civil File No. 0:18-cv-03197 (MJD/SER)

                         Plaintiff,

vs.                                                 DEFENDANT’S MOTION TO
                                                      DISMISS COMPLAINT
Delta Air Lines, Inc.,

                         Defendant.



       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Delta

Air Lines, Inc. hereby moves the Court for an Order dismissing with prejudice all of

Plaintiff Margaret Fromm’s claims in the above-captioned case for failure to state a claim

upon which relief may be granted. This motion is based on Defendant’s Memorandum of

Law in support of the motion, the pleadings on file, the arguments of counsel, and all files,

records, and proceedings herein.

Dated: April 9, 2019                           DORSEY & WHITNEY LLP


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